                       Case 1:23-mj-00019-ZMF Document 1 Filed 01/20/23 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                                  District of &ROXPELD

                  United States of America                                    )
                             v.                                               )
                                                                              )        Case No.
                   WILLIAM NICHOLS
                                                                              )
                     DOB: XXXXXX                                              )
                                                                              )
                                                                              )
                            Defendant(s)


                                                      CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                        January 6, 2021                     in the county of                                                 in the
                           LQ WKH 'LVWULFW RI          &ROXPELD           , the defendant(s) violated:

              Code Section                                                                Offense Description
        118 U.S.C. §§ 111(a)(1) and (b) - Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon;
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement during Civil Disorder;
        18 U.S.C. §§ 1752(a)(1) and (b)(1)(A) - Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon;
        18 U.S.C. §§ 1752(a)(2) and (b)(1)(A) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly or Dangerous
        Weapon;
        18 U.S.C. §§ 1752(a)(4) and (b)(1)(A) - Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous Weapon;
        40 U.S.C. § 5104(e)(2)(D) - Disorderly or Disruptive Conduct in the Capitol Grounds or Buildings;
        40 U.S.C. § 5104(e)(2)(E) - Impeding Passage through the Capitol Grounds or Buildings;
        40 U.S.C. § 5104(e)(2)(F) - Act of Physical Violence in the Capitol Grounds or Buildings.

          This criminal complaint is based on these facts:
  6HH DWWDFKHG VWDWHPHQW RI IDFWV




          9
          u   Continued on the attached sheet.




                                                                                                               Printed name and title
$WWHVWHG WR E\ WKH DSSOLFDQW LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV RI )HG 5 &ULP 3 
E\ WHOHSKRQH                                                                                                              Zia M. Faruqui
                                                                                                                           2023.01.20 16:16:13
Date:                                                                                                                      -05'00'
                  01/20/2023
                                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ '&                                        Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                               Printed name and title
